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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

LEAGUE OF WOMEN VOTERS et. al. :
                               :
    Plaintiffs,                :
                               :
                               :
    v.                         :                     CASE NO. 20-cv-3843
                               :
                               :                     JUDGE WATSON
FRANK LAROSE                   :
                               :
    Defendant.                 :


    ANSWER OF DEFENDANT OHIO SECRETARY OF STATE FRANK LAROSE


       Defendant Ohio Secretary of State Frank LaRose responds and answers Plaintiffs’

Complaint for Declaratory and Injunctive Relief as follows:

       1.      As to Paragraph 1 of the Complaint, Defendant lacks knowledge or information

sufficient to form a belief about the personal motivations of Ohio voters voting by mail or choosing

to vote by the several other methods available to Ohio voters for the November 2020 election.

Defendant admits that every Ohio voter is given the opportunity to have their vote count and further

admits that uniform standards for voting are employed across Ohio including but not limited to

“signature analysis process” and “notice and cure procedures.” Defendant denies the remaining

allegations contained therein.

       2.      As to Paragraph 2 of the Complaint, Defendant admits that the League of Women

Voters of Ohio, the A. Philip Randolph Institute of Ohio, George W. Mangeni, and Carolyn E.
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Campbell bring this action. Defendant denies the remaining allegations contained therein and

further denies that the Plaintiffs possess standing to bring the Complaint.

       3.      As to Paragraph 3 of the Complaint, Defendant admits that Ohio voters are given

an adequate opportunity to cure rejections of their absentee ballot applications and absentee ballots

based on alleged signature mismatches. Defendant lacks the knowledge or information sufficient

to form a belief as to the type and/or amount of training possessed by forensic scientists in general

as Plaintiffs have used the term. Defendant states that signature verification is used by election

officials under bipartisan teams to verify that all eligible and properly cast votes are counted.

Defendant denies the remaining allegations contained therein.

       4.      As to Paragraph 4 of the Complaint, whether Ohio law permits rejection of absentee

ballot applications for signature mismatches is a legal conclusion to which no response is required.

Ohio law requires the voter to sign the absentee ballot application to properly request such a ballot.

Defendant admits that Ohio’s 88 county boards of elections administer elections and voting within

their respective counties. Defendant denies the remaining allegations contained therein.

       5.      Defendant denies the allegations contained in Paragraph 5 of the Complaint.

       6.      As to Paragraph 6 of the Complaint, what amounts to a violation of the Equal

Protection Clause calls for a legal conclusion and no response is required. To the extent a response

is required, Defendant denies same. Defendant further denies the remaining allegations contained

therein.

       7.      Paragraph 7 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendant denies same. Defendant admits that

Ohio voters are given an adequate opportunity for cure both before Election Day and for the period

after Election Day as provided for by law. Defendant admits that the right to vote is personal.




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Defendant further admits that Ohio voters do not “lose their right to vote by no fault of their own.”

Defendant denies the remaining allegations contained therein.

        8.      As to Paragraph 8 of the Complaint, Defendant lacks knowledge or information

sufficient to form a belief about the likely rate of absentee voting, and/or the personal motivations

of Ohio voters voting by mail or choosing to vote by the several other methods available to Ohio

voters for the November 2020 election. The remaining allegations contained therein are legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies same.

        9.      As to Paragraph 9 of the Complaint, Defendant admits that Plaintiffs request

preliminary and permanent injunctive relief but deny Plaintiffs are entitled to same. The remaining

allegations are legal conclusions to which no response is required. To the extent a response is

required, Defendant denies same.


                                  JURISDICTION AND VENUE

        10.     Paragraph 10 of the Complaint is a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies same.

        11.     Paragraph 11 of the Complaint is a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies same.

        12.     Defendant admits the allegation contained in Paragraph 12 of the Complaint.

        13.     Defendant admits the allegation contained in Paragraph 13 of the Complaint but

denies that he engaged in any events which resulted in violations of law.

        14.     Paragraph 14 of the Complaint is a legal conclusion to which no response is

required. To the extent a response is required, Defendant denies same. Defendant further denies

that Plaintiffs are entitled to declaratory and injunctive relief.



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                                            PARTIES

League of Women Voters of Ohio

       15.      As to Paragraphs 15 through 18 of the Complaint, Defendant lacks knowledge or

information sufficient to form a belief as to the allegations contained therein. To the extent a

response is required, Defendant denies same. Defendant further denies that Plaintiff League of

Women Voters of Ohio possesses standing to bring the Complaint.

       16.     Defendant denies the allegations contained in Paragraphs 19 and 20 of the

Complaint.

A. Philip Randolph Institute of Ohio

       17.      As to Paragraphs 21 through 23 of the Complaint, Defendant lacks knowledge or

information sufficient to form a belief as to the allegations contained therein. To the extent a

response is required, Defendant denies same. Defendant further denies that Plaintiff A. Philip

Randolph Institute of Ohio possesses standing to bring the Complaint.

Individual Plaintiffs

       18.     As to Paragraph 24 of the Complaint, Defendant admits that Plaintiff Mangeni

registered to vote in Ohio in 2015. Defendant lacks knowledge or information sufficient to form

a belief as to the remaining allegations contained therein.   To the extent a response is required,

Defendant denies same. Defendant further denies that Plaintiff Mangeni possesses standing to

bring the Complaint.

       19.     As to Paragraph 25 of the Complaint, Defendant admits that Plaintiff Mangeni

applied to the Franklin County Board of Elections for an absentee ballot in the 2020 Primary

Election. Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations contained therein. To the extent a response is required, Defendant denies same.




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       20.     As to Paragraph 26 of the Complaint, Defendant lacks knowledge or information

sufficient to form a belief as to the allegations contained therein. To the extent a response is

required, Defendant denies same. Defendant further denies that Plaintiff Carolyn E. Campbell

possesses standing to bring the Complaint.

       21.     As to Paragraph 27 of the Complaint, Defendant admits that Plaintiff Campbell

applied to the Cuyahoga County Board of Elections for an absentee ballot in the 2020 Primary

Election. Defendant further admits that the Cuyahoga County Board of Elections notified Plaintiff

Campbell that her absentee ballot application was defective and timely advised her on how to cure

the defect. Defendant denies that Campbell’s vote “was not counted in the 2020 Primary Election.”

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations contained therein. To the extent a response is required, Defendant denies same.

Defendant

       22.     As to Paragraph 28 of the Complaint, Defendant admits that he is the Secretary of

State of Ohio and is sued in his official capacity. The Defendant denies that he violated any laws.

The remaining allegations contained therein are legal conclusions to which no response is required.

Further, the statutes referenced speak for themselves.


                                 FACTUAL ALLEGATIONS

       23.     Paragraph 29 of the Complaint contains legal conclusions to which no response is

required. The referenced Ohio statute speaks for itself. Defendant admits that 1,890,069 Ohioans

cast an absentee ballot by mail or early in person in the 2016 presidential election, which was

33.7% of the 5,607,641 total votes cast. Defendant further admits that 1,831,640 Ohioans cast

their ballots absentee by mail or early in person in the 2020 primary election, which was 99.8% of

the 1,834,465 votes cast.



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       24.     As to Paragraph 30 of the Complaint, Defendant admits that as early as January

2020 and continuing through present, health experts and federal state, and local government

officials have emphasized the importance of a wide range of protective measures. Defendant

denies that any “series of warnings and emergency advisories” are “escalating.” Defendant admits

that absentee voting by mail is a crucial component of Ohio’s expansive voting scheme, which

provides Ohioans with multiple options for voting. Defendant lacks knowledge or information

sufficient to form a belief as to the remaining allegations contained therein. To the extent a

response is required, Defendant denies same.

       25.     Paragraph 31 contains a legal conclusion to which no response is required. Further

answering, House Bill 197 speaks for itself.

       26.     As to Paragraph 32 of the Complaint, Defendant admits that Cuyahoga County

reported 754 provisional ballots rejected as non-compliant with applicable law. Defendant denies

the remaining allegations contained therein.

       27.     As to Paragraph 33 of the Complaint, Defendant lacks knowledge or information

sufficient to form a belief as to the allegations contained therein. To the extent a response is

required, Defendant denies same.

       28.     As to Paragraph 34 of the Complaint, Defendant admits that he submitted a letter

to the Ohio Congressional Delegations on April 23, 2020 and that letter speaks for itself.

Defendant lacks knowledge or information sufficient to form a belief as to the remaining

allegations contained therein. To the extent a response is required, Defendant denies same.

       29.     As to Paragraph 35, as had been past practice in even numbered years, Defendant

will mail absentee ballot applications to all registered voters for the November 3, 2020 General

Election. Defendant admits that he made an announcement on June 15, 2020 that the Controlling




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Board approved a request to use federal funds to mail absentee ballot applications to all Ohio

registered voters. Defendant lacks knowledge or information sufficient to form a belief as to the

remaining allegation contained therein. To the extent a response is required, Defendant denies

same.

        30.    Paragraphs 36 through 38 contain legal conclusions to which no response is

required. To the extent a response is required, Defendant denies same. Further answering, the

referenced laws and regulations speak for themselves.

        31.    As to Paragraph 39 of the Complaint, Defendant denies that county elections boards

in Ohio routinely disqualify absentee ballot applications based on a board employee’s perception

of a signature discrepancy. Whether any Ohio statute or any applicable regulation directs election

officials to confirm a voter’s identity through signature review is a legal conclusion to which no

response is required. Further answering, the referenced laws and regulations speak for themselves.

Defendant lacks knowledge and information sufficient to form a belief as to the remaining

allegations therein. To the extent a response is required, Defendant denies same.

        32.    Paragraphs 40 and 41 of the Complaint contain legal conclusions to which no

response is required. To the extent a response is required, Defendant denies same. Further

answering, the referenced Ohio statutes, regulations, the Ohio Election Official Manual, and, other

directives, speak for themselves.

        33.    As to Paragraph 42 of the Complaint, Defendant admits that each county board

may confirm a voter’s identity through signature review and provide for opportunities to cure any

deficiencies. Defendant denies such procedures are “ad hoc.” Defendant further denies any

remaining allegations not otherwise answered therein.




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       34.     Defendant lacks knowledge and information sufficient to form a belief as to the

allegations contained in Paragraphs 43 and 44 of the Complaint. Defendant’s lack of knowledge

and information is due in large part to the vagueness and generality of the allegations. To the

extent a response is required, Defendant denies same.

       35.     Defendant denies the allegations contained in Paragraph 45 of the Complaint.

Further answering, the referenced news article speaks for itself.

       36.     As to Paragraph 46 of the Complaint, Defendant admits that county elections boards

provide many opportunities for voters to cure any deficiencies in their absentee ballot applications

and absentee ballots, including but not limited to a board’s inability to confirm the identity of a

voter by signature, via email, telephone and U.S. Mail.         Defendant lacks knowledge and

information sufficient to form a belief as to the remaining allegations. To the extent a response is

required, Defendant denies same.

       37.     As to the allegations contained in Paragraph 47 of the Complaint, the referenced

news article speaks for itself and therefore no admission or denial is necessary.

       38.     Paragraphs 48 through 50 of the Complaint contain legal conclusions to which no

response is required. Further answering, the referenced statutes and Ohio Election Official Manual

speak for themselves. Defendant denies the allegations contained in the last sentence of Paragraph

50 of the Complaint.

       39.     As to Paragraph 51 of the Complaint, Defendant admits that his office does not

conduct or organize training in “handwriting analysis or signature matching.” Defendant lacks

knowledge and information sufficient to form a belief as to what kind of particular training each

and every one of the 88 county boards of election provides its staff. The remaining allegations




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contained therein are legal conclusions to which no response is required. Further answering, the

referenced statutes speak for themselves.

       40.     Defendant denies the allegations contained in Paragraph 52 of the Complaint.

       41.     As to Paragraph 53 of the Complaint, Defendant lacks knowledge and information

sufficient to form a belief as to allegations contained therein. To the extent a response is required,

Defendant denies same.       Further answering, Defendant denies that he is required to issue

“statewide standards.”

       42.     Defendant denies the allegations contained in Paragraph 54 of the Complaint.

Further answering, voters can easily and freely update their signatures by simply filling out a form

and filing it with their county board of elections.

       43.     Defendant denies the allegation contained in Paragraph 55 of the Complaint.

       44.     Paragraphs 56 through 63 state legal conclusions for which no response is required.

To the extent a response is required, Defendant denies same. Further answering, the referenced

statutes, directives and the Ohio Elections Manual speak for themselves. Defendant also denies

the allegations contained in the first sentences of Paragraphs 61 and 62 of the Complaint.

       45.     As to Paragraph 64 of the Complaint, Defendant admits that boards of elections

much notify voters in the upcoming 2020 General Election of absentee ballot deficiencies and

opportunities to cure via speedy and efficient means including telephone and email. Defendant

denies the remaining allegations contained therein.

       46.     Defendant denies the allegations contained in Paragraph 65 of the Complaint.

Further answering, the referenced news article speaks for itself.




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        47.     As to Paragraph 66 of the Complaint, Defendant denies that the Individual Plaintiffs

“are just several examples of voters who were disenfranchised in 2020 because of purported

signature mismatches.” Defendant admits the remaining allegations contained therein.

        48.     Defendant denies the allegations contained in Paragraph 67 of the Complaint.


                                     CAUSES OF ACTION


                                            COUNT I

        49.     As to Paragraph 68 of the Complaint, Defendant incorporates by reference all

answers and defenses in the preceding paragraphs. Further answering, Defendant denies that

“Ohio’s Signature Match Procedures Violate the Freedom of Association Clause of the First

Amendment and the Equal Protection Clause of the Fourteenth Amendment.”

        50.     Paragraphs 69 and 70 of the Complaint contain legal conclusions to which no

response is required. To the extent a response is required, Defendant denies same.

        51.     Defendant denies the allegations contained in Paragraphs 71 and 72 of the

Complaint.

                                            COUNT II

        52.     As to Paragraph 73 of the Complaint, Defendant incorporates by reference all

answers and defenses in the preceding paragraphs. Further answering, Defendant denies that

“Ohio’s Inconsistent Signature Match Practices Violate Voters’ Equal Protection Rights.”

        53.     Paragraph 74 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendant denies same.

        54.     Defendant denies the allegations contained in Paragraphs 75 through 79 of the

Complaint. Further answering, Directive 2020-11 as referenced in Paragraph 78 of the Complaint

speaks for itself.


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                                               COUNT III

        55.     As to Paragraph 80 of the Complaint, Defendant incorporates by reference all

answers and defenses in the preceding paragraphs. Further answering, Defendant denies that

“Ohio’s Failure to Provide Voters Adequate Notice and Sufficient Opportunity to Cure Signature

Mismatches Violates the Procedural Due Process Guarantee of the Fourteenth Amendment.”

        56.     Paragraph 81 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Defendant denies same.

        57.     Defendant denies the allegations contained in Paragraph 82 of the Complaint.

          DEFENDANT’S RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF


        58.     Defendant denies all allegations set forth in the Prayer for Relief and specifically

denies that Plaintiff is entitled to any relief.

        59.     In response to the Demand for Relief, Defendant asks for judgment in his favor and

denies that Plaintiff is entitled to any relief.

        60.     Any allegations not specifically answered herein, including but not limited to those

contained in any titles or section headers, are hereby denied.


                         DEFENSES AND AFFIRMATIVE DEFENSES

                                           FIRST DEFENSE

        1.      This Court lacks subject matter jurisdiction over Plaintiffs’ case.

                                         SECOND DEFENSE

        2.      Plaintiffs lack standing to bring this complaint.

                                          THIRD DEFENSE

        3.      Plaintiffs fail to state a claim upon which relief can be granted.




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                                       FOURTH DEFENSE

       4.       Plaintiffs have not been deprived of any federal constitutional or statutory rights.

                                         FIFTH DEFENSE

       5.       The challenged laws do not violate the United States Constitution.

                                         SIXTH DEFENSE

       6.       The challenged laws are supported by substantial state interests.

                                       SEVENTH DEFENSE

       7.       The challenged laws are sufficiently tailored to meet constitutional scrutiny.

                                       EIGHTH DEFENSE

       8.       Plaintiff is unable to establish the elements required for injunctive relief.

                                         NINTH DEFENSE

       9.       Any alleged harm caused to the individual plaintiffs are a result of their own acts

or omissions.


                       RESERVATION OF ADDITIONAL DEFENSES

       10.      Defendant reserves the right to supplement his Answer with additional defenses,

including affirmative defenses, as litigation in this matter proceeds.




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        Thus, having fully answered Plaintiffs’ Complaint, Defendant requests that this Court

dismiss Plaintiffs’ claims, with prejudice, and that Plaintiffs be awarded no relief, no costs, and no

fees.

                                               Respectfully submitted,

                                               DAVE YOST

                                               Ohio Attorney General

                                               /s/ Julie M. Pfeiffer
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                                               LaRose


                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 14, 2020, the foregoing was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

may access this filing through the court’s system.

                                               s/Julie Pfeiffer
                                               Julie Pfeiffer (0069762)*
                                               Assistant Attorney General




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